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 14
                        UNITED STATES DISTRICT COURT
 15
                       CENTRAL DISTRICT OF CALIFORNIA
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 17
      JANE ROE,                                 Case No. 2:24-cv-09462-MWF-AJR
 18
                        Plaintiff,               DEFENDANT GARTH BROOKS’
 19                                              MOTION TO DISMISS
            v.
 20
                                                 District Court Judge: Michael W.
 21   GARTH BROOKS,
                                                 Fitzgerald
 22                     Defendant.               Magistrate Judge: A. Joel Richlin

 23                                              Hearing Date: December 9, 2024
 24                                              Hearing Time: 10:00 a.m.
 25                                              Complaint Filed: October 3, 2024
                                                 Removal Date: November 1, 2024
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  1                NOTICE OF MOTION AND MOTION TO DISMISS
  2   TO THE COURT, PLAINTIFF, AND COUNSEL OF RECORD:
  3         PLEASE TAKE NOTICE THAT, on December 9, 2024, at 10:00 a.m., or as
  4   soon thereafter as this matter may be heard in Courtroom 5A of the Honorable
  5   Michael W. Fitzgerald, located at 350 West First Street, Los Angeles, California
  6   90012, defendant Garth Brooks (“Brooks”) will move, and hereby does move,
  7   pursuant to Federal Rules of Civil Procedure 12(b)(6) and 13(a), to dismiss this
  8   action with leave for Plaintiff Jane Roe (“Roe”) to refile her claims in the Southern
  9   District of Mississippi.
 10         This motion is based on the files, records, and proceedings in this action,
 11   including this Notice of Motion and Motion to Dismiss, the following
 12   Memorandum of Points and Authorities, the reply memorandum Brooks intends to
 13   file, the arguments of counsel, and such other matters as may be presented at the
 14   hearing on this Motion or before the Court’s decision.
 15         This Motion is made following the conference of counsel held pursuant to
 16   Local Rule 7-3. This Motion is made following the conference of counsel held
 17   pursuant to Local Rule 7-3. Counsel for Brooks conferred with Roe’s counsel on
 18   both October 31, 2024 and November 7, 2024 about the motion by email and
 19   phone, respectively. Roe’s counsel has informed Brooks’ counsel that she will
 20   oppose the motion.
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                                                                             MOTION TO DISMISS
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  1   I.    INTRODUCTION
  2         This action is duplicative of a federal action already pending between the
  3   same parties, arising from the same set of disputed facts, and involving the same
  4   overlapping issues. In the first-filed action, Garth Brooks sued Jane Roe in federal
  5   court in the Southern District of Mississippi, where she has resided since 2021 (the
  6   “Mississippi Action”). Brooks’ lawsuit, filed on September 13, 2024, alleges that
  7   Ms. Roe defamed and injured him by publishing false claims that he committed
  8   sexual assault, among other things. Brooks seeks to recover damages arising from
  9   Roe’s tortious conduct under Mississippi law.
 10         Almost three weeks later, Roe filed this lawsuit (the “California Action”),
 11   which Brooks removed to this Court. It seeks to recover damages for precisely the
 12   same alleged assaults that Mr. Brooks’ lawsuit alleges never occurred. Disposition
 13   of the two cases presents a binary decision: For Brooks to prevail in the Mississippi
 14   case, he must prove that Roe’s allegations are false; for Roe to succeed on her
 15   California claims, she must prove that her allegations are true.
 16         Federal Rule of Civil Procedure 13(a) exists to prevent precisely this sort of
 17   duplicative litigation. It mandates that all “compulsory counterclaims”—claims,
 18   like Roe’s, that turn on the same basic set of facts—be litigated in the first-filed
 19   action, not in a parallel suit in another court. So, where a plaintiff brings those
 20   claims outside of the first-filed action, the court presiding over the later-filed action
 21   must either dismiss the claims or stay them while the first suit proceeds.
 22         Either approach is warranted here. Ninth Circuit law makes clear that Roe’s
 23   claims are compulsory counterclaims in the Mississippi Action because they
 24   present the very same factual issues that are central to that case—and indeed, Roe
 25   herself has admitted in the Mississippi Action that the two suits are necessarily
 26   intertwined. Accordingly, Roe’s claims against Brooks should not proceed in this
 27   Court. Instead, the claims should be dismissed under Rule 12(b)(6) with leave to
 28   refile in the Mississippi case.
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  1   II.   RELEVANT BACKGROUND
  2         On September 13, 2024, Brooks filed suit against Roe in the United States
  3   District Court for the Southern District of Mississippi under the caption Doe v. Roe,
  4   No. 3:24-cv-547-HTW-LGI (S.D. Miss.) (Wingate, J.). The Mississippi Action
  5   asserts various tort claims under Mississippi law against Roe, including defamation,
  6   intentional infliction of emotional distress, and false light invasion of privacy, all
  7   arising out of Roe’s attempt to blackmail Brooks by publishing and threatening to
  8   more widely publish false allegations that Brooks violently assaulted her in 2019
  9   while traveling in California. See Doe v. Roe, No. 3:24-cv-547-HTW-LGI, ECF
 10   No. 1 (filed Sept. 13, 2024) (“Miss. Compl.”).1
 11         On October 3, 2024, almost three weeks after Brooks filed the Mississippi
 12   Action, Roe filed a complaint against Brooks in the California Superior Court for
 13   the County of Los Angeles under the caption Roe v. Brooks, Case No.
 14   24STCV25693. Roe’s lawsuit alleges assault, battery, and similar California
 15   statutory claims against Brooks arising out of an alleged assault that occurred
 16   nearly five and a half years ago on May 11, 2019. Brooks timely removed Roe’s
 17   lawsuit to this Court on November 1, 2024.
 18         The Mississippi Action and the California Action arise out of the same
 19   underlying subject matter between the same parties, with the most significant
 20   practical difference between them being the parties’ respective roles: the plaintiff in
 21   one is the defendant in the other, and vice versa. The dispute at the heart of both
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 23   1
        In addition to Brooks’ tort claims, for which he seeks to recover monetary
 24   damages, Brooks’ September 13, 2024 complaint also sought declaratory relief.
      Brooks amended his complaint on November 1, 2024, to plead only damages
 25   claims, including those that he initially pled on September 13, 2024. See Doe v.
 26   Roe, No. 3:24-cv-547-HTW-LGI, ECF No. 25 (filed Nov. 1, 2024). All filings in
      the Mississippi Action are currently sealed by an order of the Southern District of
 27
      Mississippi; Brooks intends to move for judicial notice of these documents
 28   following an order from that court on the sealing issue.
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  1   actions requires a determination of the truth or falsity of Roe’s allegations of sexual
  2   misconduct that allegedly occurred more than five years ago.
  3          Roe herself agrees that the cases overlap. Indeed, a few days after Brooks’
  4   counsel reached out to Roe’s counsel to meet and confer about this Motion to
  5   Dismiss, Roe filed a motion in the Southern District of Mississippi that asked the
  6   court there to transfer the Mississippi Action to this Court because, according to
  7   Roe, Brooks’ tort claims against Roe are compulsory counterclaims that arise from
  8   the same operative facts. See Doe v. Roe, No. 3:24-cv-547-HTW-LGI (S.D. Miss.),
  9   ECF No. 32 (filed Nov. 4, 2024).
 10   III.   ROE’S CLAIMS MUST BE DISMISSED BECAUSE THEY ARE
 11          COMPULSORY COUNTERCLAIMS TO THE MISSISSIPPI
             ACTION.
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             This action should be dismissed for failure to state a claim because Roe’s
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      claims are compulsory counterclaims that must be brought in the Mississippi
 14
      Action. See Fed. R. Civ. P. 12(b)(6). Rule 13 of the Federal Rules of Civil
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      Procedure requires (with exceptions not relevant here) that “[a] pleading must state
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      as a counterclaim any claim that—at the time of its service—the pleader has against
 17
      an opposing party if the claim . . . arises out of the transaction or occurrence that is
 18
      the subject matter of the opposing party’s claim.” Fed. R. Civ. P. 13(a)(1). “The
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      requirement that counterclaims arising out of the same transaction or occurrence . . .
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      ‘shall’ be stated in the pleadings was designed to prevent multiplicity of actions,
 21
      and to achieve resolution in a single lawsuit all disputes arising out of common
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      matters.” S. Constr. Co., Inc. v. Pickard, 371 U.S. 57, 60 (1962).2
 23
             Once alerted to a first-filed action, courts either dismiss the later-filed claim
 24
      without prejudice pursuant to Rule 12(b)(6) or stay the proceedings. “Ideally, once
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        The rule was later amended to change “shall” to “must.” See Fed. R. Civ. P.
 27
      13(a); see id., Committee Note On Rules—2007 Amendment (“These changes are
 28   intended to be stylistic only.”).
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  1   a court becomes aware that an action on its docket involves a claim that should be a
  2   compulsory counterclaim in another pending federal suit, it will stay its own
  3   proceedings or will dismiss the claim with leave to plead it in the prior action.” 6
  4   Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1418
  5   (3d ed. 2024) (“Wright & Miller”); see also Olen Properties Corp. v. Wakefield,
  6   2022 WL 19333335, at *2 (C.D. Cal. July 6, 2022) (“The general rule is that when
  7   an action before a court involves a claim that should be a compulsory counterclaim
  8   in another pending federal suit the court should stay its own proceedings or dismiss
  9   the claim.”); Riviera Travel & Tour, Inc. v. Novokshonov, 2012 WL 12894174, at
 10   *1 (C.D. Cal. Aug. 23, 2012) (Fitzgerald, J.) (“Where the original action is still
 11   pending, i.e. where res judicata cannot be said to operate as a bar to the claim,
 12   district courts will generally either stay the later-filed proceedings or will dismiss
 13   the claim with leave to plead it in the original action.”). Barring the second action
 14   from proceeding in tandem with the first one “furthers the general federal policy
 15   against multiplicity of litigation embodied in Rule 13(a).” Wright & Miller
 16   § 1418.3
 17         That is what the Court should do here. Roe’s claims are compulsory
 18   counterclaims because they turn on the same facts that will determine the outcome
 19   of the Mississippi Action. Thus, the Court should either dismiss Roe’s claims with
 20   leave to refile them as compulsory counterclaims in the Mississippi Action, or stay
 21   this case pending further proceedings in the Southern District of Mississippi.
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       It makes no difference that Roe initially filed this case in state court. The “same
 27
      general principles . . . also apply when one or both of the actions before the federal
 28   courts were removed from state courts.” Wright & Miller § 1418.
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   1         A.     Roe’s Claims in the California Action Are Compulsory
   2                Counterclaims that Belong in Mississippi.

   3         A claim is compulsory if it “arises out of the transaction or occurrence that is
   4   the subject matter of the opposing party’s claim.” Fed. R. Civ. P. 13(a). The Ninth
   5   Circuit applies the “logical relationship” test to determine whether a claim arises
   6   out of the same transaction or occurrence. In re Pegasus Gold Corp., 394 F.3d
   7   1189, 1195–96 (9th Cir. 2005). “A logical relationship exists when the
   8   counterclaim arises from the same aggregate set of operative facts as the initial
   9   claim, in that the same operative facts serve as the basis of both claims or the
  10   aggregate core of facts upon which the claim rests activates additional legal rights
  11   otherwise dormant in the defendant.” Id. at 1196 (citation omitted). The
  12   “‘transaction or occurrence’ standard [i]s to be read broadly.” Pochiro v.
  13   Prudential Ins. Co. of Am., 827 F.2d 1246, 1252 (9th Cir. 1987).
  14         The claims in this California Action clearly arise out of the same transaction
  15   or occurrence at issue in the Mississippi Action. In the Mississippi Action, Brooks
  16   asks to recover damages based on Roe’s blackmailing of him by falsely accusing
  17   him of sexual assault—an act of attempted extortion that defamed him, harassed
  18   him, painted him in a false light in invasion of his privacy rights, and caused him
  19   emotional distress. Specifically, Brooks alleges in the Mississippi Action that Roe
  20   asked Brooks for increasing amounts of financial assistance, which he eventually
  21   declined to provide, and she thereafter “responded with false and outrageous
  22   allegations of sexual misconduct she claims occurred years ago.” Miss. Compl. ¶ 8.
  23   Brooks further alleges that an attorney acting at Roe’s direction sent a demand letter
  24   to Brooks and others with whom he works, alleging “a litany of sexual misconduct
  25   by [Brooks] ranging from allegations of sexual ‘grooming,’ creation of a sexually
  26   hostile work environment, unwanted sexual touching, and sexual assault.” Id. ¶ 9.
  27   The Mississippi Action also explains that Roe sought to extort Brooks by offering
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   1   to refrain from publicly filing her false allegations in a lawsuit in exchange for a
   2   multimillion-dollar payment. Id. ¶ 11.
   3         Roe’s complaint is premised on the same alleged instances of sexual
   4   misconduct that form the basis for Brooks’ claims. ECF No. 1-1 (Compl.) at ¶¶ 1-
   5   24, 53-136 (alleging the commission of multiple instances of sexual assault during
   6   the course of the parties’ professional relationship).
   7         The overlap of the facts and issues presented by both the Mississippi Action
   8   and the California Action mean that resolution of one case will necessarily be
   9   dispositive of the other. Put differently, if Brooks succeeds in the Mississippi
  10   Action by proving that Roe’s allegations of assault are false, Roe will not prevail in
  11   this action because it requires her to prove that the exact same allegations are true.
  12         The Ninth Circuit has held counterclaims are compulsory in similar
  13   circumstances. In In re Marshall, 600 F.3d 1037 (9th Cir. 2010), Pierce Marshall
  14   brought a defamation claim against his father’s wife, Vicki Lynn Marshall, alleging
  15   she defamed him in connection with his father’s contested will proceedings. Id. at
  16   1044. Vicki Lynn Marshall then asserted a counterclaim for tortious interference
  17   related to the same estate dispute. Id. at 1045. The Ninth Circuit readily concluded
  18   that the counterclaim was compulsory. It reasoned that “[t]he defamation claim,
  19   Vickie Lynn Marshall’s affirmative defense of truth, and her counterclaim for
  20   tortious interference all concern the alleged efforts by Pierce Marshall to obtain
  21   control of his father’s estate.” Id. at 1057. So too here: Brooks’ defamation claim,
  22   Roe’s assertions of truth, and her counterclaims all concern the same set of alleged
  23   sexual misconduct and, therefore, bear a logical relationship to one another.
  24         Another Ninth Circuit decision, Pochiro v. Prudential Insurance Co. of
  25   America, further illustrates that Roe’s counterclaims are compulsory. There, an
  26   insurer sued a former employee, John Pochiro, “pleading various causes of action
  27   based upon allegations that Pochiro appropriated for his own use confidential
  28   consumer information.” 827 F.2d at 1248. Pochiro and his wife then sued the
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   1   insurer, “pleading various causes of action based upon allegations that Prudential
   2   defamed John Pochiro by calling him ‘a crook.’” Id. The court held the second-
   3   filed claim was compulsory, explaining that the defamation claim “center[ed]
   4   around statements allegedly made by Prudential in relation to [Pochiro’s] use of
   5   Prudential’s confidential records.” Id. at 1251. Thus, the court concluded, “the
   6   facts necessary to prove the two claims substantially overlap,” and “the collateral
   7   estoppel effect of Prudential’s victory in the first action would preclude the
   8   Pochiros from denying the truth of Prudential’s statements.” Id. “In such a
   9   situation, the defamation claim must be considered a compulsory counterclaim to
  10   the earlier action.” Id.
  11         This case is indistinguishable from Pochiro. Roe’s claims in the California
  12   Action turn on the same set of facts that are disputed in the Mississippi Action. The
  13   “facts necessary to prove the two claims substantially overlap”—they all turn on the
  14   veracity of Roe’s allegations against Brooks—and the “collateral estoppel effect of
  15   [Brooks’] victory in the first action would preclude [Roe]” from asserting the truth
  16   of her allegations in this case. Pochiro, 827 F.2d at 1251. That conclusion is
  17   obvious for Brooks’ defamation and false light claims, which require him to prove
  18   that Roe’s assertions of assault and other misconduct are false. Miss. Compl. ¶¶
  19   15-16. See Simmons L. Grp., P.A. v. Corp. Mgmt., Inc., 42 So. 3d 511, 517 (Miss.
  20   2010) (falsity an element of defamation under Mississippi law). But it is equally
  21   true for Brooks’ intentional infliction of emotional distress claim, Miss. Compl. ¶
  22   14, which will require him to show that Roe “acted willfully or wantonly” in
  23   accusing him of misconduct. Rainer v. Wal-Mart Assocs., Inc., 119 So. 3d 398, 403
  24   (Miss. Ct. App. 2013). Thus, just as in Pochiro, the presence or absence “of a
  25   legitimate justification for th[is] action” against Brooks will “greatly influence the
  26   determination of whether” Brooks can prevail in his suit against Roe. Pochiro, 827
  27   F.2d at 1252.
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   1         Roe unquestionably agrees that the two cases are logically intertwined. Her
   2   California complaint spends paragraphs discussing the Mississippi Action and its
   3   connection with the California Action. See supra at 3. She alleges that the
   4   Mississippi complaint is “preemptive” of this action and confirms that the question
   5   in the Mississippi case is whether Roe “falsely accused” Brooks of misconduct.
   6   Compl. ¶¶ 27, 101. She even claims that it is “obvious” from her allegations why
   7   Brooks “resorted to such a drastic measure as filing” in Mississippi. Id. ¶ 109.
   8   Although Brooks disputes Roe’s allegations, all that matters for purposes of this
   9   motion is that Roe has alleged that there is a substantial overlap between this suit
  10   and the Mississippi Action.4
  11         Roe, in fact, sought to capitalize on this overlap in a recent motion to dismiss
  12   she filed in the Mississippi Action. Her motion argues, among other things, that
  13   Brooks’ Mississippi complaint alleges tort claims that are compulsory counter-
  14   claims to her claims in this action. Citing Fifth Circuit law, which does not
  15   substantially differ from the Ninth Circuit law that applies in this action, Roe argues
  16   that Brooks’ damages claims must be litigated in California—not in his chosen
  17   forum (and her state of residence)—because those damages claims arise from the
  18   same facts as her California Action.
  19         But Brooks was entitled to, and did, file suit against Roe in the jurisdiction
  20   where Roe resides now and where she resided when she committed the wrongful
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         Part of Roe’s theory seems to be that Brooks’ Mississippi action is “[a]busive.”
       Compl. ¶ 27. But there is no exception to the compulsory-counterclaim rule for
  23   first-filed actions perceived to be maliciously motivated. Nor do any of the other
  24   exceptions to Rule 13 apply here. Roe’s claims do not “require adding another
       party over whom” the Southern District of Mississippi “cannot acquire
  25   jurisdiction.” Fed. R. Civ. P. 13(a)(1)(B). When the Mississippi Action was
  26   commenced, Roe’s claims were not “the subject of another pending action.” Id. R.
       13(a)(2)(A). And this is not a case where any party “sued on its claim by
  27
       attachment or other process that did not establish personal jurisdiction.” Id. R.
  28   13(a)(2)(B).
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   1   conduct for which Brooks seeks to recover: Mississippi. And despite Roe’s
   2   attempts to swap the order in which the lawsuits were filed post hoc, Brooks was
   3   the one who first sought to judicially vindicate his rights by filing the Mississippi
   4   Action to recover from Roe’s shakedown. That is enough to trigger Rule 13. Roe’s
   5   protest that Brooks’ lawsuit was abusive or otherwise badly intended cannot reverse
   6   the actual sequence: (1) his lawsuit alleging damages claims under Mississippi law
   7   against Roe was filed first, and (2) Roe’s later-filed claims under California law
   8   substantially overlap with his. Her lawsuit must therefore be litigated in
   9   Mississippi.
  10         B.       The Court Should Dismiss Roe’s Claims Without Prejudice and
  11                  Direct Her to Refile the Claims as Counterclaims in Mississippi.
  12         When a plaintiff brings compulsory counterclaims in a different forum than
  13   the first-filed action, a court must “stay its own proceedings or . . . dismiss the
  14   claim with leave to plead it in the prior action.” Wright & Miller § 1418. Courts in
  15   this district have repeatedly taken that approach. In Olen Properties Corp., the
  16   plaintiffs filed an action in state court after the defendant had already filed an action
  17   in federal court. 2022 WL 19333335, at *1. The defendant then removed the later-
  18   filed action to federal court and filed a motion to dismiss or stay. The district court
  19   determined the plaintiffs’ claims were compulsory counterclaims to the first-filed
  20   action and dismissed the later-filed action with leave to assert the counterclaims in
  21   the first-filed action. Id. at *2. Similarly, in Drage v. Singhal, 2008 WL 11342848
  22   (C.D. Cal. Feb. 4, 2008), after concluding the plaintiff’s claims were compulsory
  23   counterclaims to an earlier-filed action, the court stayed the later-filed action and
  24   issued an order to show cause why the two actions pending before it should not be
  25   consolidated. Id. at *2; see also Adam v. Jacobs, 950 F.2d 89, 93 (2d Cir. 1991)
  26   (holding the district court abused its discretion in failing to dismiss or transfer an
  27   action bringing compulsory counterclaims to an earlier-filed action and noting that
  28   the filing of the second action “contravene[d] the purpose of Rule 13”); Neuropathy
                                                                             MOTION TO DISMISS
                                                 -9-                       CASE NO. 2:24-CV-09462
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   1   Solutions, Inc. v. Mass. Bay Ins. Co., 2022 WL 6589002, at *3-6 (C.D. Cal. Sept. 7,
   2   2022) (dismissing claims under Rule 12(b)(6) because they were compulsory
   3   counterclaims). And in Riviera Travel & Tour, Inc., this Court determined that one
   4   party’s “claims are inextricably intertwined with the facts” at issue in the first-filed
   5   action and so “GRANT[ED] Defendants’ Motions to Dismiss and sua sponte
   6   GRANT[ED] Plaintiff leave to file its claims as compulsory counterclaims.” 2012
   7   WL 1289417, at *2.
   8         The same outcome is warranted here. Once the Court determines that Roe’s
   9   claims share a logical relationship with the claims already asserted in the
  10   Mississippi Action—which they plainly do—it should dismiss the California
  11   Action with leave for Roe to refile her claims as counterclaims in the Mississippi
  12   Action, thus permitting “resolution in a single lawsuit of all disputes arising out of
  13   common matters.” Id. at 93 (quoting S. Constr. Co., 371 U.S. at 60).
  14         Rule 13’s compulsory-counterclaim provisions exist to avoid duplicative
  15   litigation. See Wright & Miller § 1418. The parties should not be required to
  16   conduct overlapping discovery here and in the Mississippi Action simultaneously.
  17   And this Court should not be thrust into a race with the Southern District of
  18   Mississippi to decide the critical factual issues that are dispositive of both actions.
  19   Instead, the right result is the one contemplated by the Federal Rules: because Roe
  20   “must” file her compulsory counterclaims in the Mississippi Action, this suit should
  21   not move forward. Fed. R. Civ. P. 13(a).
  22   IV.   CONCLUSION
  23         For the foregoing reasons, Defendant respectfully requests that Roe’s
  24   complaint be dismissed with leave to refile in the Southern District of Mississippi.5
  25
       5
         As an alternative to dismissal, the Court has discretion to stay this action pending
  26   the resolution of the Mississippi Action. See Olen Properties Corp., 2022 WL
  27   19333335, at *2 (explaining that an action may be dismissed or stayed where it
       involves what should be a compulsory counterclaim in another action, and holding:
  28   “The Court opts for dismissal.”) (citing Asset Resol., LLC v. Schoonover, 2009 WL
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   1
       Dated: November 8, 2024                     O’MELVENY & MYERS LLP
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       5040123, at *4 (D. Nev. Dec. 15, 2009) (dismissing redundant case)). Here,
  26   Brooks respectfully requests that the Court dismiss this action with leave to refile in
  27   Mississippi because dismissal will best promote efficiency for the parties and the
       Court by reducing the likelihood of duplicative litigation, including costly
  28   discovery.
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   1             CERTIFICATE OF COMPLIANCE (LOCAL RULE 11-6.2)
   2         The undersigned, counsel of record for Defendant Garth Brooks, certifies that
   3   this brief contains 3,807 words, which complies with the word limit of Local Rule
   4   11-6.1.
   5
       Dated: November 8, 2024                    By: /s/ Daniel M. Petrocelli
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                                                     Daniel M. Petrocelli
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